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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK


                                                       Case No.: 19-cv-554
ROC NATION LLC, a Delaware Limited
Liability Company,                                     COMPLAINT

                                         Plaintiff,    (JURY TRIAL DEMANDED)

                   -against-

HCC INTERNATIONAL INSURANCE
COMPANY, PLC, a United Kingdom-
Domiciled Insurance Company,

                                         Defendant.


          Plaintiff Roc Nation LLC (“Roc Nation”), by and through its attorneys Reed Smith LLP,

as and for its complaint against Defendant HCC International Insurance Co., PLC (“HCCI”),

respectfully alleges as follows:

                                    NATURE OF THIS ACTION

          1.       Plaintiff Roc Nation brings this breach of contract, breach of the implied covenant

of good faith and fair dealing, and declaratory relief lawsuit against HCCI because, among other

things:

                   a.   HCCI misrepresented to Plaintiff, during the procurement process of the

          Subject Policy (defined below), that Plaintiff was applying for and purchasing from

          HCCI standard Key Person insurance policies covering the life of Jordan Feldstein, the

          founder and former Chief Executive Officer of Career Artist Management LLC

          (“CAM”);

                   b.   HCCI has wrongfully denied insurance coverage for Plaintiff’s clearly

          covered loss following the untimely death of Mr. Feldstein based on multiple incorrect
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interpretations of various provisions of the policy at issue and, to date, has failed to pay in

excess of 90% of Plaintiff’s claim;

       c.    HCCI has failed to properly and timely investigate the claim and it has

failed to conclude its investigation in a timely manner as required under the policy;

       d.    Because the policies drafted and issued by HCCI are so shoddily drafted,

they contains multiple ambiguities each of which must be strictly construed against HCCI

and resolved in favor of coverage for Plaintiff’s claim;

       e.    HCCI has wrongfully denied insurance coverage for this clearly covered

loss under the policy at issue by falsely claiming that (i) HCCI did not have sufficient

information to timely conclude its investigation of the claim as it is required to do under

the policy; and (ii) Plaintiff has failed to cooperate (which is not true) in the investigation

of its claim and that, as a result, HCCI was justified in denying this claim outright based

upon this purported lack of cooperation (such a claim is totally baseless);

       f.    HCCI now improperly seeks to reform the standardized form policy

language that it alone originally crafted -- now asserting that it meant to refer to the

“Insured Person” rather than the “Insured” in a clause contained within the definition

of the term “Direct Ascertained Net Loss”.

       g.    HCCI has also wrongfully denied insurance coverage for this clearly

covered loss under the policy by falsely claiming that, if reformation of its claimed

drafting error is allowed, HCCI is entitled to “subtract” from Plaintiff’s payout, “all

revenue and other value generated as the result of and/or during the time services were

performed by [Mr. Feldstein]” without any temporal limits whatsoever;




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                h.   HCCI has also wrongfully refused to acknowledge that, under a fair and

       reasonable reading of the Subject Policy as a whole, Plaintiff is entitled to include in its

       losses the (fairly obvious category of losses) for the amounts it would have earned but for

       Mr. Feldstein’s death;

                i.   HCCI has unreasonably delayed, stalled and engaged in coverage

       gamesmanship for well over a year and has, to date, failed to pay in excess of 90% of

       Plaintiff’s valid and collectible claim;

                j.   HCCI improperly viewed the information and documents provided by

       Plaintiff solely through the lens of creating an artifice for denying coverage;

                k.   HCCI has wrongfully refused to acknowledge that, as HCCI itself represents

       the scope of its Critical Asset Protection Insurance to the general public, the policy

       protected both Plaintiff’s economic investment and anticipated profits in the event of Mr.

       Feldstein’s death; and

                l.   HCCI has wrongfully refused to acknowledge that, as HCCI itself represents

       the scope of its Key Person insurance products to the general public consistent with the

       titles of the policy applications for both the 2016-17 Policy and 2017-18 Policy, the

       Subject Policy insures the “financial loss of a key employee,” like Mr. Feldstein, and

       necessarily includes the lost profits that would have been generated but for Mr.

       Feldstein’s untimely death.

                                 JURISDICTION AND VENUE

       2.       This Court has diversity jurisdiction over the parties pursuant to 28 U.S.C. §

1332(a)(2) because this dispute is between a citizen of a State and a citizen or subject of a

foreign state and the amount in controversy exceeds $75,000, exclusive of interest and costs.




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        3.       Roc Nation is a citizen, resident, and domiciliary of the State of New York and

HCCI is a citizen of the foreign state of the United Kingdom.

        4.       Plaintiff also brings this action pursuant to 28 U.S.C. § 2201, and Rule 57 of the

Federal Rules of Civil Procedure, seeking declaratory judgment to determine an actual case or

controversy regarding a claim for benefits seeking a determination of the rights and obligations

pertaining to the Subject Policy which was issued in this State and this judicial district.

        5.       Venue in this judicial district is proper pursuant to 28 U.S.C. § 1391(b)(2)

because “a substantial part of the events or omissions giving rise to the claim occurred” in this

district.

                                           THE PARTIES

        6.       Roc Nation LLC is, and at all times relevant hereto was, a limited liability

company organized under the laws of the State of Delaware, with its principal place of business

in New York and an office in California. As a Limited Liability Company, Roc Nation assumes

the citizenship of each of its members. Roc Nation, LLC has two members: (a) Live Nation

Worldwide, Inc.; and (b) Marcy Media, LLC.

                 a.   Live Nation Worldwide, Inc., is a Delaware Corporation with its principal

        place of business in Beverly Hills, California. Thus, Live Nation Worldwide, Inc. is a

        citizen of the States of Delaware and California for diversity purposes.

                 b.   Marcy Media, LLC, is a Delaware Limited Liability Company with its

        principal place of business in New York, New York. For diversity purposes, the members

        of Marcy Media, LLC, are citizens of the States of New York, New Jersey, California,

        and Delaware only.




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         7.       Accordingly, Roc Nation is a citizen, for diversity jurisdiction purposes, of the

States of California, Delaware, New Jersey, and New York.

         8.       Based upon information and belief, HCCI is a United Kingdom-domiciled

property and casualty insurance company operating globally that was formed in 1981. The

company became part of HCC through acquisition in 2005.1

         9.       Based upon information and belief, at all relevant times, HCCI was and is

engaged in the business of, among other things, issuing casualty insurance policies to residents of

the States of New York and California; HCCI does business in the State of New York as a

surplus line insurer; HCCI underwrites insurance policies for risks and individuals located in the

States of New York and California; and, according to HCCI, the insurance policies at issue were

“registered and delivered as a surplus line coverage under the [Georgia Code] Surplus Line

Insurance Law, O.C.G.A. Chapter 33-5.”

                                      FACTUAL BACKGROUND

A.       Relationship Between Plaintiff and Jordan Feldstein

         10.      On September 14, 2016, Roc Nation entered into a Purchase Agreement with

CAM, a talent management company, whose founder and CEO at the time was Jordan Feldstein.

         11.      Roc Nation’s investment in CAM was primarily to secure CAM’s high-profile

music industry clients whose affiliations with CAM were due in large part to personal

relationships those acts and talent had with Mr. Feldstein.

         12.      Among CAM’s music industry clients, far and away the most valuable client and

asset of CAM was the incredibly successful musical group, “Maroon 5,” led by its lead singer,

Adam Levine. Based on information and belief, Jordan Feldstein and Adam Levine were

childhood friends and the two had a long standing personal and professional relationship.

1
     https://www.tmhcc.com/en/about-us/business-structure


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         13.     Maroon 5 was originally founded in 1994 as “Kara’s Flowers” while its members

were still in high school. The band has released six platinum or multi-platinum studio albums (2

of which reached No. 1 on the Billboard Top Album Sales chart), three live albums, two

compilation albums as well as releasing a number of extend plays and numerous singles,

including 4 songs that reached No. 1 on the Billboard Hot 100. Maroon 5 has also been

nominated for 12 Grammy Awards, winning 3 Grammys.

         14.     The band recently concluded its seventh world tour in October 2018 and finished

2018 as the biggest act on U.S. radio airwaves, according to Nielsen Music. “The group’s

catalog of songs collected 8.58 billion audience impressions across all monitored radio stations,

from 1.95 million plays of their tunes.”2

B.       Plaintiff Purchased Two Successive “Key Person” Insurance Policies from HCCI

         15.     In order to protect its multi-million dollar investment in CAM and expectations

for the business, Plaintiff prudently purchased two successive “key person” insurance policies

from HCCI insuring the life of Jordan Feldstein.

         16.     The first HCCI policy covered the periods September 14, 2016 to September 14,

2017, bearing the Unique Market Reference No. B1392BWIF161061 (the “2016-17 Policy”),

which provided Plaintiff with $14,500,000 of insurance coverage. (A true and correct copy of

the 2016-17 Policy is attached hereto as Exhibit A).

         17.     The second HCCI policy covered the period December 15, 2017 to December 15,

2018, bearing the Unique Market Reference No. B1392BWIF171074 (the “2017-18 Policy” or

the “Subject Policy”), which provided Plaintiff with $12,529,222 of insurance coverage. (A true

and correct copy of the 2017-18 Policy is attached hereto as Exhibit B).



2
     https://www.billboard.com/articles/columns/chart-beat/8493151/maroon-5-biggest-act-on-us-radio-2018


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       18.     When securing Key Person insurance, Plaintiff sought to insure coverage in the

event of the Mr. Feldstein’s death. It is undisputed that Maroon 5 alone represented millions of

dollars a year of revenue to CAM and that amount is without considering the other artists that

left CAM after Mr. Feldstein’s death or the acts that Mr. Feldstein surely would have added to

CAM had he survived.

       19.     Plaintiff did not invest in CAM simply to recoup its original investment. Plaintiff

invested in CAM with the idea of recouping its investment and making a profit for years to come

based on Mr. Feldstein’s skills and attributes. With Mr. Feldstein alive, Plaintiff could and most

likely would have made many tens of millions of dollars in profits over the life of the partnership

(which losses HCCI seeks to simply ignore).

       20.     The policy applications submitted by Plaintiff in connection with both the 2016-

17 Policy and the 2017-18 Policy confirm Plaintiff’s understanding that it was purchasing “key

person” insurance policies from HCCI insuring the life of Jordan Feldstein.

       21.     The insurance application form created by HCCI and submitted by Plaintiff in

connection with the 2016-17 Policy is entitled “KEY PERSON FAILURE TO SURVIVE” and

expressly advised Plaintiff that the policy would pay Plaintiff the $14.5 million limits of liability

“for the direct financial loss suffered by [Roc Nation] resulting from the non-performance of

insured contract due solely to the death or disappearance of [Jordan Feldstein] during the policy

of insurance.” (A true and correct redacted copy of the 2016-17 Policy application is attached

hereto as Exhibit C).

       22.     The application submitted by Plaintiff for the 2016-17 Policy also notes that “no

medical exams or medical records are required for application.” Despite this notation, Mr.

Feldstein completed and submitted a two page Medical Examiners Report to Exceptional Risk




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Advisors (ERA), an authorized HCCI representative located in Mahwah, New Jersey. ERA was

also provided with an additional one page report with attached EKG results submitted in

connection with the 2016-17 Policy.

       23.     The insurance application form created by HCCI and submitted to HCCI by

Plaintiff in connection with the 2017-18 Policy is entitled “Key Man Proposal Form” which was

understood by all parties to be an application for renewal of the 2016-17 Policy. (A true and

correct redacted copy of the 2017-18 Policy application is attached hereto as Exhibit D).

       24.     Here, it was undisputed that Jordan Feldstein was CAM’s key person and that,

without Mr. Feldstein’s personal relationships, skills and expertise in the music industry,

including his personal and long standing personal friendship, relationship and connection with

Adam Levine, the lead vocalist of the incredibly successful musical group Maroon 5, CAM

would not have been nearly as valuable or as attractive to Plaintiff as it was.

       25.      “Key Person” or “Key Man” insurance is generally understood, both within the

insurance industry and by businesses seeking this type of coverage, as being a form of business

life insurance taken out on the life of the key person of a business, such as the owner, founder or

an invaluable employee or two, designed to provide a business with a financial payout should

that key person unexpectedly die.

       26.     The process of securing a payout under a key person insurance policy is simple: a

company purchases a life insurance policy on the key employee, the company pays the premiums

on the policy and is listed as the beneficiary under the policy and, if the key person unexpectedly

dies, the company receives the insurance payoff once proof of death has been provided.

       27.     This commonly accepted understanding of Key Person or Key Man insurance is

wholly consistent with Plaintiff’s reasonable expectations as to the type of insurance coverage it




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was purchasing from HCCI as evidenced by the “Key Person Failure to Survive” and the “Key

Man Proposal Form” applications discussed above.

        28.      HCC itself defines Key Man or Key Person insurance as a “policy purchased by a

third party to insure for the financial loss of a key employee whose expertise and skill-set have

established them as an irreplaceable asset to their firm.”3 Neither the HCCI policy applications

nor the HCC Website hint that this broad “financial loss” is tethered to baffling insurance policy

provisions that HCCI later issued.

        29.      HCCI defines “Critical Asset Protection Insurance” as a unique and distinct

solution that protects the economic investment of a key person or persons in the event of death

by any cause…. If that person dies or suffers a catastrophic injury, it could have a serious impact

on your client's balance sheet. CAP can shield you from this exposure.”4

        30.      Plaintiff simply requested (and reasonably believed it had purchased) coverage

upon the death of Mr. Feldstein in the insured amount. This is consistent with the protection

described on HCCI’s website; i.e., an insurance policy to protect Plaintiff against the

unanticipated and untimely death of Jordan Feldstein, CAM’s key executive who held the long-

term relationships with music industry clients like Maroon 5.

        31.      Instead of receiving traditional Key Person life insurance policies consistent with

Plaintiff’s reasonable expectations as evidenced by the policy application forms created by HCCI

and submitted by Plaintiff, HCCI issued to Plaintiff insurance policies entitled “Critical Asset

Protection Insurance.”

        32.      HCC describes “Critical Asset Protection” insurance this way: it is a “unique and

distinct solution that protects the economic investment of a key person or persons in the event of

3
    See, https://www.tmhcc.com/en/categories/accident-and-health/key-man; emphasis added (accessed 1/1/19).
4
    See, https://www.tmhcc.com/en-us/products/critical-asset-protection; emphasis added (accessed 1/1/19).


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death by any cause. The product can be used to provide insurance protection for one individual

or for a group, such as a sports team or an executive team. The human capital and economic

exposure of corporations, professional sports organizations or even an endorsement company can

be a massive if an unexpected death or calamitous injury occurs.”5

C.        The HCCI Policy Language and The Myriad of Ambiguities in the Two Policies

          33.     Both the 2016-17 Policy and the 2017-18 Policy are rife with undefined terms,

ambiguities, and undisclosed material changes from the coverages, terms, conditions and

limitations set forth in the 2016-17 Policy to those contained in 2017-18 Policy.

          34.     Both the 2016-17 Policy and the 2017-18 Policy also expressly state that the

“proposal form [i.e., the applications], together with all documents and information provided by

the Insured, or on their behalf in support of the proposal, forms the basis of and is incorporated

into this insurance.” (See Page 7 of the 2016-17 Policy and Page 9 of the 2017-18 Policy;

emphasis added).

          35.     The “Critical Asset Protection Insurance” Policies issued by HCCI to Plaintiff

contain ambiguous, confusing and convoluted insuring agreements and related definitions

alternatively covering Plaintiff’s “Direct Ascertained Net Loss” (the 2016-17 Policy) or its

“Direct Net Ascertained” loss (the 2017-18 Policy) “directly resulting from the non-

performance of the Specific Contract due to the Insured Person’s Failure to Survive during the

Period of Insurance.” (Page 8 of Exhibit A and Page 10 of Exhibit B; underlined emphasis

added).

          36.     Both the 2016-17 Policy and 2017-18 Policy also include the following provision:

“words in bold print in this insurance have special meaning, as defined in the DEFINITIONS of



5
     See, https://www.tmhcc.com/en-us/products/critical-asset-protection; emphasis added (accessed 1/16/19).


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this insurance.” The words, terms and phrases set out in bold in the HCCI policies are also set

off from the rest of the policy language through the use of initial capital letters.

       37.       The Insuring Agreement of the 2016-17 Policy states:




       38.       The Insuring Agreement of the 2017-18 Policy states:




       39.       While these insuring agreements appear, at first blush, to be similar, they are not.

The earlier policy insures against Plaintiff’s “Direct Ascertained Net Loss” whereas the later

issued policy insures against Plaintiff’s “Direct Net Ascertained loss.” The 2017-18 Policy not

only juxtaposes “Net” as modifying “Ascertained” instead of “Net” modifying “Loss,” and the

2017-18 Policy also fails to either capitalize or bold the word “loss.”

       40.       Because of these ambiguities, the 2017-18 Policy does not include a definition of

“Direct Net Ascertained loss” but, instead, defines “Direct Ascertained Net Loss” (which is

the covering language found in the 2016-17 Policy not in the 2017-18 Policy) using a perplexing

and opaque loss calculation and, to compound those errors, the 2016-17 Policy defines “Direct

Ascertained Net Loss” differently than the 2017-18 Policy and HCC never advised Roc Nation

of the change.




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         41.    The 2016-17 Policy defines “Direct Ascertained Net Loss” as follows:




         42.    The 2017-18 Policy defines “Direct Ascertained Net Loss” as follows:




         43.    Set forth below is a graphic depiction of the differing policy definitions of

 “Direct Ascertained Net Loss”:

               2016-17 POLICY                                          2017-18 POLICY
“Direct Ascertained Net Loss” … “means the            “Direct Ascertained Net Loss” … “means the
amount remaining that the insured is obliged to       amount remaining that the insured is obliged to
pay to satisfy it’s [sic] financial obligation or     pay to satisfy it’s [sic] financial net loss obligation
incurs as a loss under the insured contract after     or incurs as a loss under the Specific Contract
subtracting all revenue and other value generated     after subtracting all revenue and other value


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as the result of and/or during the time services generated as the result of and / or during the time
were performed by the Insured Person.”           services were performed by the Insured.”

          44.      The ambiguity created by these different definitions is compounded by the fact

 that neither policy defines “financial obligation” or “financial net loss obligation.”

          45.      To make a difficult interpretation of an ambiguous policy impossible, the 2016-17

 Policy definition of “Direct Ascertained Net Loss” refers to the “Insured Person” (defined in

 the policy as Jordan Feldstein), whereas the 2017-18 Policy definition of “Direct Ascertained

 Net Loss” refers to the “Insured” (defined as Roc Nation).6

          46.      Thus, substituting the correct names of the “Insured Person” and “Insured” into

 the definitions of “Direct Ascertained Net Loss,” the provisions read:

                   2016-17 POLICY                                              2017-18 POLICY
 “Direct Ascertained Net Loss” … “means the                 “Direct Ascertained Net Loss” … “means the
 amount remaining that the insured is obliged to pay        amount remaining that the insured is obliged to pay
 to satisfy it’s [sic] financial obligation or incurs as    to satisfy it’s [sic] financial net loss obligation or
 a loss under the insured contract after subtracting        incurs as a loss under the Specific Contract after
 all revenue and other value generated as the result        subtracting all revenue and other value generated as
 of and/or during the time services were performed          the result of and / or during the time services were
 by Jordan Feldstein.”                                      performed by Roc Nation.”

          47.      The 2016-17 Policy does not define the phrase “financial obligation,” which

 seems relatively straightforward, and the 2017-18 Policy does not define the term “financial net

 loss obligation,” which is significantly less clear.

          48.      Based upon specific information contained in each policy, it is clear that the

 drafting of the 2016-17 Policy and the 2017-18 Policy were part of standardized form policy

 language crafted by HCCI and utilized by HCCI for any and all “Critical Asset Protection

 Insurance” policies issued by the carrier.



 6
     Both the 2016-17 Policy and the 2017-18 Policy identify Jordan Feldstein as the “Insured Person” on both the
 Risk Details page and in the definition section. The Risk Details page of the 2016-17 Policy lists Roc Nation as the
 “Assured” (without providing a definition of “Assured” in the policy) and as the “Insured” in the 2017-18 Policy.


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       49.     The 2016-17 Policy specifically notes that the policy wording is based upon a

2011 standardized form created by HCCI::




       50.     Similarly, the 2017-18 Policy specifically notes that the policy wording is based

upon a newly drafted 2017 standardized form created by HCCI:




       51.     In short, each, every and all of the ambiguities contained in the 2017-18 Policy

discussed herein are based upon and present in HCCI’s standardized 2017 policy form issued to

every “Critical Asset Protection Insurance” policyholder and, as such, they are not the result of

an error in a manuscript policy specifically drafted for a particular policyholder but, instead, the

confusing and shoddily drafted policy provisions at issue survived the internal scrutiny that any

standardized policy form usually undergoes after being created by an insurer, like HCCI.

       52.     HCCI unilaterally made the above noted changes in the definition of the term

“Direct Ascertained Net Loss” as set out in the renewed 2017-18 Policy without notice to

Plaintiff and these significant policy changes were made by HCC unilaterally after the death of

Mr. Feldstein. Prior to Mr. Feldstein’s death, the coverage had been bound but a copy of the

actual policy had not been provided to Plaintiff.


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       53.     Pursuant to established law, HCCI was required to notify Plaintiff of all material

changes to coverage-limiting clauses in policy renewals such as the changes above.

       54.     No coverage changes were ever specifically identified in any correspondence

accompanying the renewal documents for the 2017-18 Policy.

D.     Jordan Feldstein’s Death and Plaintiff’s Claim Submission to HCCI

       55.     Sadly, Mr. Feldstein unexpectedly passed away in Los Angeles on December 22,

2017, after he went into cardiac arrest.

       56.     On or about December 27, 2017, Plaintiff advised HCCI of Mr. Feldstein’s

untimely death through the policies’ Placing Broker, Bretton Woods.

       57.     Because Mr. Feldstein was the founder and CEO of CAM, his death had a

tremendous impact on CAM’s business, the extent of which Plaintiff has more than adequately

demonstrated to HCCI.

       58.     On April 6, 2018, Roc Nation timely submitted a proof of loss to HCCI and noted

that the sum insured under the 2017-18 Policy was $12,529,222.

       59.     On May 2, 2018, HCCI responded to Roc Nation’s proof of loss submission by

acknowledging the 2017-18 Policy limit of liability of $12,529,222.00 and requested further

information in order to complete its investigation. At that time, HCCI also appointed outside

forensic accountants who subsequently presented Roc Nation with an extensive laundry list of

requested documents and information despite the fact that, as noted above, Plaintiff’s loss of

Maroon 5 alone as part of the CAM assets over the next few years substantially dwarfs (by more

than three times) both the $12,529,222 policy limits of the 2017-18 Policy and any revenues

generated by other CAM clients.

       60.     On May 30, 2018, Plaintiff promptly responded to HCCI and to HCCI’s forensic

accountants by fully complying with all information and document requests.


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       61.     However, in an attempt to stall payment of any amount to which Roc Nation was

entitled to, HCCI began a procrastination process that lasted several months and has now

stretched to beyond a year after Mr. Feldstein’s death, by continually claiming that it did not

have enough information to pay the claim and by continually and constantly requesting

additional documents from Plaintiff on multiple occasions.

       62.     In many instances, HCCI’s requests were unreasonably broad and lacked any

temporal limitations. HCCI also requested information related to false media reports and

information that HCCI knew was not within Plaintiff’s control to provide. Many of these

requests have been duplicative and many others sought overtly irrelevant information. In other

cases, HCCI has made unreasonably broad document requests such as ‘any communications

between the estate and Roc Nation” or ‘reports on all post death revenue’ with no limitations

whatsoever.

       63.     At all times, Plaintiff fully and completely cooperated with these unreasonable

requests and Plaintiff has, at all times, acted in good faith by producing to HCCI and its forensic

accountants the requested information and documents or, alternatively, by directing HCCI to the

proper party or parties for documents outside of Plaintiff’s control.

       64.     On August 8, 2018, Roc Nation responded to HCCI’s further request for

information with its “fifth (5th) detailed reply to information requests” related to the submission

of its claim, to which HCCI replied on August 13, 2018 wherein HCCI falsely claimed to still

not have sufficient information to complete its investigation or make a coverage determination.

       65.     Ultimately, Roc Nation produced hundreds of pages of financial data, legal

documents, and other information in response to more than a half-dozen requests from HCCI and




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engaged in communications for more than a year without payment of more than 90% of the

policy limits rightfully due to Plaintiff under the 2017-18 Policy.

       66.     Pursuant to the express terms of both the 2016-17 Policy and the 2017-18 Policy,

HCCI agreed to complete its investigation in a “timely manner” after reasonable requests:




       67.     Ignoring its obligations to timely settle the claim and pay Plaintiff the policy

limits upon Mr. Feldstein’s death, HCCI instead engaged in a lengthy campaign to delay and

avoid its payment obligations.

       68.     Plaintiff has requested, on multiple occasions, that HCCI narrow its shotgun

approach to seeking irrelevant and overly broad requests or, at a minimum provide support for

such requests. HCCI rejected or failed to respond to these requests.

       69.     HCCI has also requested information outside of Plaintiff’s control and, despite

having no obligation to do so, Plaintiff has also put HCCI in contact with relevant third parties

and their counsel and has encouraged those parties to cooperate with HCCI.

       70.     When HCCI realized that its lengthy campaign to delay paying all or any part of

Plaintiff’s valid and collectable claim breached the implied covenant of good faith and fair

dealing, HCCI sent yet another request for even more information to Plaintiff by letter dated

August 13, 2018, and in that letter offered to make an “advance payment” of less than 10%

($1,176,595) of Plaintiff’s valid and collectible claim.

       71.     HCCI claimed that this interim payment was for the potential revenue lost for

CAM’s clients that either left CAM or did not join Plaintiff, other than Maroon 5.


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        72.     In its August 13 letter, HCCI specifically noted that the interim payment offered

“would not represent a full and final value of the claim, but a value of what has been confirmed

for this particular portion of the claim thus far.”

        73.     On August 20, 2018, Roc Nation accepted HCCI’s offer of $1,176,595 as an

interim payment, specifically noting that its acceptance did not constitute an admission that the

amount was sufficient to satisfy any portion of the claim.

        74.     HCCI’s long campaign designed to stall, delay and make every effort to minimize

its payment obligations under the Subject Policy, culminated in an unprecedented forty-six (46)

page denial letter dated September 28, 2018, in which HCCI denied outright “the remainder of

the Insured’s claim;” i.e., the $11,352,627 owed over and above the interim payment of

$1,176,595.

        75.     In its 46-page September 28, 2018 denial letter, HCCI breached the covenant of

good faith and fair dealing implied in the 2017-18 Policy issued to Plaintiff as detailed herein.

E.      HCCI’s Misplaced Reliance on Ambiguous Provisions of the 2017-18 Policy to
        Outright and Wrongfully Deny Plaintiff’s Valid Claim Constitutes Bad Faith

        76.     HCCI seeks to limit Plaintiff’s valid and collectible claim by falsely asserting that

a phrase found, not in the exclusion section of the 2017-18 Policy but, rather, in the definition of

“Direct Ascertained Net Loss” allows HCC to re-calculate Plaintiff’s loss ad infinitum. That

phrase is: “subtracting all revenue and other value generated as the result of and/or during the

time services were performed by the Insured.”

        77.     HCCI’s interpretation of the limitation clause in the definition of “Direct

Ascertained Net Loss” is untenable and it is not supported by established law or by the language

of HCCI’s own standardized policy.




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        78.        HCCI’s interpretation of the limitation clause in the definition of “Direct

Ascertained Net Loss” invokes an outrageously unrealistic view of what can be accomplished

by a dead person because HCCI is claiming that all CAM revenue forever is “generated as a

result of” Mr. Feldstein and that simply is not reality in the artist management business.

        79.        Talent needs constant attention and HCCI’s position in this case diminishes the

value of many hardworking people who work to keep an artist’s career moving forward on a

daily basis.

        80.        The “subtracting all revenue” clause is neither clear, unambiguous nor specific,

and it certainly failed to advise the policyholder that, in the event of Mr. Feldstein’s death, HCCI

could withhold payment of the policy limits for an undefined period of time potentially lasting 5,

10 or 20 years.

        81.        If HCCI had wanted to limit coverage in the manner it now proposes, HCCI and

HCCI alone was legally obligated to clearly and unambiguously advise Plaintiff that the payout

under the HCC Key Man insurance policy could be delayed for a decade or more and HCCI

failed to do so.

        82.        In its 46-page denial letter, HCCI relied on its own ambiguous language in the

2017-18 Policy when it quoted verbatim the definition of “Direct Ascertained Net Loss” and

then stated “all revenue and other value generated as the result of and/or during the time services

were performed by Feldstein must be subtracted from any amounts remaining to be recouped on

the Aggregate Purchase Price.”

        83.        However, as noted above, HCCI’s own policy defines Mr. Feldstein as the

“Insured Person” and Roc Nation as the “Insured.” So HCCI’s insertion of Mr. Feldstein in

the 2017-18 Policy definition is not supported by HCCI’s policy language and, because Roc




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Nation performed no services for CAM, no revenue subtractions could be made under that

provision.

       84.     Roc Nation, on its part, performed no services for CAM and therefore no

deductions could or should be made under the express language of the last clause of the

definition of “Direct Ascertained Net Loss.”

       85.     HCCI’s interpretation of this clause as having no temporal limit runs contrary to

HCCI’s obligation under the express provisions of the policy it crafted, to complete its

investigation and settle the claim “in a timely manner” [Page 12 of the 2017-18 Policy] and the

fact that the policy requires that any legal action by Roc Nation must be commenced within 3

years of the date written proof of loss is submitted [Page 15].

       86.     Both the 2016-17 Policy and the 2017-18 Policy expressly note that Plaintiff must

file any legal action against HCCI “within three (3) years of the date the written proof of loss is

required to be submitted”:




       87.     Despite this explicit temporal limitation on Plaintiff’s right to pursue legal

recourse, HCCI takes the position that it is entitled to “subtract all revenue and other value

generated as the result of and/or during the time services were performed by [Plaintiff]” through

some unspecified period of time (unlimited according to HCCI’s 46-page denial letter), well

beyond the 3-year limitation period in the policy.

       88.     Allowing HCCI an indefinite period of time to pay the claim as HCCI now

suggests is directly at odds with the other time limitations set forth in HCCI’s own policy and,




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because established law requires that the policy be interpreted as a whole, HCCI’s “no temporal

limits” position should be rejected.

       89.     Because the “subtracting all revenue” clause is susceptible to the more reasonable

interpretation and understanding of the policyholder; i.e., that it must both practically and

necessarily include a temporal limitation, the clause is rendered vague and ambiguous and must

be interpreted in favor of coverage for Plaintiff’s claim and strictly against HCCI.

       90.     Because HCCI is wielding the “subtracting all revenue” clause of the definition of

“Direct Ascertained Net Loss” as a sword in an attempt to limit or otherwise preclude coverage

for Plaintiff’s loss, HCCI was duty bound to express such purported exclusionary language in

clear, unequivocal and unambiguous terms. HCCI failed to do so, not only HCC chose to alter

the definition of “Ascertained Net Loss” to include the value generated by the “Insured” rather

than those generated by the “Insured Person” as in the 2016-17 Policy but also by injecting the

undefined term “net loss” into the “financial obligation” language of the 2017-18 Policy

definition in contravention of established law.

       91.     Under established law, the HCCI policy must be read in light of the reasonable

expectations of the average policyholder in order to determine whether the provision, as written,

is sufficiently clear and precise such that there is no room for reasonable disagreement about the

scope of coverage.

       92.     Here, Plaintiff’s reasonable expectations were that, because Plaintiff purchased a

Key Person insurance policy on Jordan Feldstein and the “Insured” was listed as Plaintiff under

both policies, Plaintiff would receive the policy limits of $12,529,222.00 soon after Mr.

Feldstein’s unexpected death.




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       93.       No reasonable policyholder in Plaintiff’s position would interpret the “subtracting

all revenue” clause in the definition of “Direct Ascertained Net Loss” as allowing HCCI to

delay, stall and withhold payment under the policy for undefined and unlimited period of law.

The impracticality of such a position alone renders the clause vague, ambiguous and

unenforceable.

       94.       In its 46-page denial letter, HCCI also wrongly contends that it is entitled to

subtract all post-mortem revenue ad infinitum, Plaintiff is not entitled to include in the revenue

calculations, all “losses associated with Mr. Feldstein’s lack of participation over the expected

term of the business” because, according to HCCI, such a position is meritless and not supported

by the Policy language.”

       95.       Indeed beyond the investment loss suffered by Plaintiff under the Purchase

Agreement (which is a fixed number), it is only reasonable to look to the future to project the

true financial losses Plaintiff will suffer as well; i.e., what would Mr. Feldstein’s continued

involvement in CAM have meant to Roc Nation financially?

       96.       Under HCCI’s revised definition of “Direct Ascertained Net Loss” in the 2017-

18 Policy, HCCI agreed to reimburse Plaintiff for its “financial net loss obligation” as well as

amounts the Plaintiff “incurs as a loss” under the Specific Contract. HCCI failed to define the

phrase “financial net loss obligation.”

       97.       However, because the definition of “Direct Ascertained Net Loss” (a) includes

the word “loss” in the defined term itself, (b) includes the term loss in the undefined term

“financial net loss obligation,” and (c) includes the phrase “incurs a loss,” as part of the amounts

covered under the Subject Policy it is both fair and reasonable to interpret that provision as

allowing Plaintiff to offset any deductions to be made by HCCI, as against any and all losses




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sustained by Plaintiff as a direct result of Mr. Feldstein’s death, consistent with the reasonable

expectations of the Plaintiff and based upon a fair and reasonable interpretation of the policy as a

whole in order to determine the Loss attributable to Mr. Feldstein’s death.

       98.     In its 46-page denial letter, HCCI also raised a number of issues it never raised

before none of which preclude coverage here.

       99.     Additionally, HCCI’s claim that, after having fully and completely responded to

over a half dozen requests for information and documentation, Plaintiff has somehow violated

the cooperation clause of the policy such that HCCI has any arguable right to deny coverage

based upon a baseless claim in this regard is wholly without merit and its attempt to rely on this

pretext to deny coverage constitutes bad faith.

       100.    HCCI’s refusal to timely pay Plaintiff’s claim has caused Plaintiff to suffer

significant consequential damages. When the HCCI policies were issued, HCCI understood

that, if HCCI breached the policies, Plaintiff would suffer consequential damages.



                                     CLAIMS FOR RELIEF

                            AS AND FOR A FIRST CLAIM
                       UPON WHICH RELIEF MAY BE GRANTED
                            (Breach of Insurance Contract)

       101.    The averments of paragraphs 1 through 100 are repeated and incorporated by

reference as though more fully stated herein.

       102.    Plaintiff has fully complied with and have performed all of the conditions and

covenants on their part to be performed under the Subject Policy.

       103.    HCCI breached the Subject Policy in a number of ways including, without

limitation, the following:




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          a.   Failing and refusing to acknowledge coverage for the full policy limits of

the Subject Policy;

          b.   Failing and refusing to pay Roc Nation the full policy limits of the Subject

Policy and, instead, denying coverage outright for $11,352,627 of the $12,529,222 policy

limits;

          c.   Failing to properly and timely investigate the Claim and to conclude its

investigation in a timely manner as required under the policy; and

          d.   Misrepresenting during the procurement process that Plaintiff was applying

for and purchasing standard Key Person insurance;

          e.   Improperly interpreting the “subtracting all revenue” limiting language of

the definition of “Direct Ascertained Net Loss” in the Subject Policy as having no

temporal limit and wrongfully insisting that it is entitled to reduce the payout under the

Subject Policy beyond the reasonable understanding of Plaintiff and any reasonable

interpretation of the language of the Subject Policy;

          f.   Wrongfully refusing to acknowledge that, under a fair and reasonable

reading of the Subject Policy as a whole, Plaintiff is entitled to reduce the “subtractions”

sought to be made by HCCI with the losses incurred by Plaintiff during the same period

of time directly;

          g.   Wrongfully refusing to acknowledge that, as HCCI itself represents the

scope of its Critical Asset Protection Insurance to the general public, the Subject Policy

protected Plaintiff’s economic investment and anticipated profits in the event of Mr.

Feldstein’s death; and




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                h.   Wrongfully refusing to acknowledge that, as HCCI itself represents the

       scope of its Key Person insurance products to the general public consistent with the titles

       of the policy applications for both the 2016-17 Policy and 2017-18 Policy, the Subject

       Policy insures the “financial loss of a key employee” like Mr. Feldstein and necessarily

       includes the lost profits that would have been generated but for Mr. Feldstein’s untimely

       death.

       104.     Plaintiff has been damaged, in an amount to be established at trial, as a direct and

proximate result of the above listed contract breaches (and others) committed by HCCI.

       105.     As a direct and proximate result of HCCI’s breaches of its obligations, Plaintiff

has suffered, and continues to suffer, substantial direct monetary damages in an amount to be

established at trial, including consequential damages, pre-judgment and post-judgment interest,

and costs incurred by Plaintiff in bringing this action against HCCI.

       106.     These damages are foreseeable damages incurred by Plaintiff as a direct result of

HCCI’s wrongful conduct, which were contemplated by the parties when they negotiated and

executed the HCCI policies and should be awarded so that Plaintiff is adequately compensated

for HCCI’s wrongful conduct.

                             AS AND FOR A SECOND CLAIM
                       UPON WHICH RELIEF MAY BE GRANTED
              (Breach of the Implied Covenant of Good Faith and Fair Dealing)

       107.     The averments of paragraphs 1 through 106 are repeated and incorporated by

reference as though more fully stated herein.

       108.     Implied in the Subject Policy is a covenant that HCCI would act in good faith and

deal fairly with Plaintiff. That obligation includes, among other things, an obligation that HCCI

would not do anything to interfere with the Plaintiff’s rights to receive the benefits due and




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owing under the Subject Policy and that HCCI would give as much, if not more, consideration to

the Plaintiffs’ interest as HCCI gave to its own interests in responding to this loss.

       109.    Instead of complying with these duties and obligations, HCCI has acted in bad

faith by, among other things, unreasonably, without good cause, and in bad faith:

               a.    Viewing, in bad faith, the information, records and documents provided by

       Plaintiff in support of its claim through the lens of creating an artifice for denying

       coverage rather than supporting coverage;

               b.    Engaging in a systematic and orchestrated effort to stall, delay and stonewall

       payment of Plaintiff’s valid and collectible claim;

               c.    Failing to promptly and properly investigate Plaintiff’s claim with an eye

       towards honoring its contractual obligations while stringing the Plaintiff along;

               d.    Wrongfully insisting that the “subtracting all revenue” language of the

       definition of “Direct Ascertained Net Loss” in the Subject Policy has no temporal limit;

               e.    Wrongfully insisting that it is entitled to reduce the payout under the Subject

       Policy way beyond the reasonable understanding of Plaintiff and way beyond a

       reasonable interpretation of the language of the Subject Policy;

               f.    Wrongfully refusing to acknowledge that, under a fair and reasonable

       reading of the Subject Policy as a whole, Plaintiff is entitled to reduce the “subtractions”

       sought to be made by HCCI with the losses incurred by Plaintiff during the same period

       of time directly resulting from Mr. Feldstein’s death and the loss of artists, including

       Maroon 5, who had previously been with Mr. Feldstein;

               g.    Wrongfully refusing to acknowledge that, as HCCI itself represents the

       scope of its Critical Asset Protection Insurance to the general public, the Subject Policy




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       protected Plaintiff’s economic investment and anticipated profits in the event of Mr.

       Feldstein’s death;

                h.   Wrongfully refusing to acknowledge that, as HCCI itself represents the

       scope of its Key Person insurance products to the general public consistent with the titles

       of the policy applications for both the 2016-17 Policy and 2017-18 Policy, the Subject

       Policy insures the “financial loss of a key employee” like Mr. Feldstein and necessarily

       includes the lost profits that would have been generated but for Mr. Feldstein’s untimely

       death;

                i.   Wrongfully claiming that, after having fully and completely responded to

       over a half dozen requests for information and documentation, Plaintiff has somehow

       violated the cooperation clause of the policy such that HCCI has any arguable right to

       deny coverage based upon a baseless claim in this regard; and

                j.   Otherwise acting contrary to the obligations imposed by the implied

       covenant of good faith and fair dealing in the Subject Policy.

       110.     In breach of the implied covenant of good faith and fair dealing, HCCI did the

things and committed the acts alleged above for the purpose of consciously withholding from

Plaintiff the rights and benefits to which Plaintiff is entitled under the Subject Policy.

       111.     The acts described above by HCCI are (a) inconsistent with Plaintiff’s reasonable

expectations; (b) contrary to established claims practices and legal requirements; (c) contrary to

insurance industry custom and practice; and (d) contrary to the express terms of the Subject

Policy. They constitute bad faith.

       112.     As a direct and proximate result of the unreasonable and bad faith conduct of

HCCI, Plaintiff has suffered, and will continue to suffer, damages under the Subject Policy, plus




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interest, and other economic and consequential damages, in a total amount to be shown at the

time of trial.

        113.     As a direct and proximate result of HCCI’s breaches of its obligations, Plaintiff

has suffered, and continues to suffer, substantial direct monetary damages in an amount to be

established at trial, including consequential damages, pre-judgment and post-judgment interest,

and costs incurred by Plaintiff in bringing this action against HCCI.

        114.     These damages are foreseeable damages incurred by Plaintiff as a direct result of

HCCI’s wrongful conduct, which were contemplated by the parties when they negotiated and

executed the HCCI policies and should be awarded so that Plaintiff is adequately compensated

for HCCI’s wrongful conduct.

        115.     The conduct by HCCI is despicable and outrageous, and was done with a

conscious disregard of the rights and reasonable expectations of the Plaintiff and the public at

large, constituting oppression, fraud, and/or malice. HCCI engaged in the acts cited herein for

the sole purpose of improperly denying benefits due under the Subject Policy. HCCI’s continued

use of an ambiguous standardized form to subsequently deny coverage after an insured

experiences a calamitous event is morally reprehensible and egregious.

        116.     Specifically, by acting as alleged above, in light of the information, facts, and

relevant law to the contrary, HCCI consciously disregarded the rights of the Plaintiff.

        117.     By doing these things, HCCI wrongfully deprived the Plaintiff of the benefit of

the policy and inflicted substantial damage on the Plaintiff. HCCI ignored the interests and

concerns of the Plaintiff, with the requisite intent to injure. Therefore, Plaintiff is entitled to

recover punitive damages from HCCI in an amount that is sufficient to punish and make an

example of HCCI and in order to deter similar conduct by HCCI in the future.




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       118.    Additionally, Plaintiff is entitled to recover all of the costs, expenses, and

attorneys’ fees reasonably incurred by the Plaintiff to obtain the benefits of insurance that have

been, and continue to be, wrongfully and in bad faith withheld by HCCI. When the precise

amounts of these costs, expenses and fees are known, the Plaintiff will seek leave of Court to

amend this complaint.

       119.    HCCI should be held liable for punitive damages, because it engaged in egregious

tortuous conduct, as described more fully herein and as will be established at the time of trial.

Punitive damages are warranted to deter others from engaging in similar misconduct.

                             AS AND FOR A THIRD CLAIM
                        UPON WHICH RELIEF MAY BE GRANTED
                                  (Declaratory Relief)

       120.    The averments of paragraphs 1 through 119 are repeated and incorporated by

reference as though more fully stated herein.

       121.    An actual controversy has arisen, and now exists, between Plaintiff on the one

hand and HCCI on the other, with respect to whether the Plaintiff is entitled to recover the full

$12,529,222 policy limits of the Subject Policy.

       122.    As to this controversy, the Plaintiff requests that the Court make and enter a

binding judicial declaration that:

               a.     HCCI is obligated to pay to the Plaintiff the full $12,529,222 policy limits of

       the Subject Policy;

               b.     HCCI led Plaintiff to reasonably belief that it was purchasing traditional

       “Key Person” and “Key Man” insurance, as set forth in the applications for both the

       2016-17 Policy and the 2017-18 Policy both of which were specifically incorporated into

       each policy;




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        c.    As written, the definition of “Direct Ascertained Net Loss” in the Subject

Policy requires HCCI to take into consideration the losses Plaintiff has suffered and will,

in the future suffer, as a direct result of Mr. Feldstein’s death;

        d.    As written, the definition of “Direct Ascertained Net Loss” in the Subject

Policy prohibits HCCI from subtracting any revenue or other value generated as result of

and/or during the time services were performed by the Insured [Roc Nation]” because

Plaintiff performed no services for CAM and, therefore, no deductions could or should be

made under the express language of the last clause of the definition;

        e.    HCCI is not entitled, under established law, to reform its policy to change

“Insured” to “Insured Person” as used in the definition of “Direct Ascertained Net

Loss” crafted by HCCI for its standard policy form and as used in the Subject Policy;

        f.    Because the “subtracting all revenue” clause in the definition of “Direct

Ascertained Net Loss” in the Subject Policy is susceptible to the more reasonable

interpretation and understanding of the policyholder; i.e., that it must both practically and

necessarily include a temporal limitation, the clause is rendered vague and ambiguous

and must be interpreted in favor of coverage for Plaintiff’s claim and strictly against

HCCI.

        g.    Because the definition of “Direct Ascertained Net Loss” as used in the

Subject Policy includes the word “loss” in the defined term itself and because it includes

the term loss in the undefined term “financial net loss obligation,” and because it includes

the phrase “incurs a loss,” as part of the amounts covered under the Subject Policy, that

provision must be interpreted as allowing Plaintiff to offset any deductions to be made by




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       HCCI, as against any and all losses sustained by Plaintiff as a direct result of Mr.

       Feldstein’s death;

               h.    If HCCI is allowed to reform the Subject Policy to change “Insured” to

       “Insured Person” as used in the definition of “Direct Ascertained Net Loss” drafted by

       HCCI, then HCCI’s attempt to limit coverage under that definition by “subtracting all

       revenue and other value generated as the result of and/or during the time services were

       performed by [Mr. Feldstein]” must, consistent with a plain reading of the policy

       language as a whole, include a temporal limit to such deductions;

               i.    No exclusions apply to bar coverage; and

               j.    Plaintiff has fully complied with all requirements under the Subject Policy.

       123.    The requested declarations are both necessary and proper at this time under the

circumstances in that the interests of judicial economy and substantial justice will be served

thereby.

       124.    Plaintiff is informed and believes, and upon that basis alleges, that HCCI disputes

all or part of the contentions set forth in the preceding paragraphs.

       125.    Plaintiff seeks the judicial declarations set forth above.

                                    JURY TRIAL DEMAND

       126.    Plaintiff demands a trial by jury on each issue triable thereby.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment:

            a. Awarding compensatory and consequential damages in favor of Plaintiff against
               Defendant for all damages sustained as a result of Defendant’s wrongdoing, in an
               amount to be determined at trial, including interest thereon;




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         b. Awarding punitive damages in favor of Plaintiff against Defendant for all
            damages sustained as a result of Defendant’s wrongdoing, in an amount to be
            proven at trial, including interest thereon;

         c. Making the judicial declarations set forth above in favor of Plaintiff and in favor
            of coverage for Plaintiff’s claim;

         d. Awarding Plaintiff its reasonable costs and expenses incurred in this action,
            including counsel fees and expert fees; and

         e. Awarding such other and further relief as this Court may deem just and proper.


DATED: January 18, 2019

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